Case 2:19-cv-02874-SVW-MAA Document 29 Filed 08/13/19 Page 1 of 12 Page ID #:155




     1   Aaron D Aftergood
     2     aaron@aftergoodesq.com
         THE AFTERGOOD LAW FIRM
     3   1880 Century Park East, Suite 200
         Los Angeles, CA 90067
     4   Telephone: 310-551-5221
     5
         Facsimile: 310-496-2840

     6   Steven L. Woodrow*
           swoodrow@woodrowpeluso.com
     7   Taylor T. Smith*
           tsmith@woodrowpeluso.com
     8   WOODROW & PELUSO, LLC
     9   3900 E. Mexico Avenue, Suite 300
         Denver, Colorado 80210
 10      Telephone: (720) 216-0675
         Facsimile: (303) 927-0809
 11
         *Pro Hac Vice
 12
         Attorneys for Plaintiff and the Putative Classes
 13
 14                     IN THE UNITED STATES DISTRICT COURT
 15                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
 16
1.
 17
2.        Lee Wigod, individually and on behalf      Case No. 2:19-cv-02874-SVW-MAA
 18       of all others similarly situated,
                                                     JOINT CASE MANAGEMENT
 19
3.                           Plaintiff,              STATEMENT
 20
4.21      v.
                                                     Complaint Filed: April 15, 2019
5.22      CallFire, Inc., a Delaware corporation,
 23
                             Defendant.
6.24
 25
 26
 27
 28
                                  JOINT CASE MANAGEMENT STATEMENT
Case 2:19-cv-02874-SVW-MAA Document 29 Filed 08/13/19 Page 2 of 12 Page ID #:156




  1           Plaintiff Lee Wigod (“Plaintiff” or “Wigod”) and Defendant CallFire, Inc.
  2   (“Defendant” or “CallFire”) jointly submit this Joint Case Management Statement
  3   pursuant to Rule 26(f) of the Federal Rules of Civil Procedure, and this Court’s
  4   standing order.
  5      1.      Statement of the Case
  6           Plaintiff’s Position: Plaintiff brings this alleged class action under the
  7   Telephone Consumer Protection Act (“TCPA” or “Act”), 47 U.S.C. § 227, et seq.,
  8   against Defendant CallFire to put an end to Defendant’s unlawful telemarketing
  9   practices. Specifically, the TCPA prohibits companies from sending autodialed
 10   telemarketing text messages to cellular telephones where the recipient has revoked
 11   prior express consent. The Act also makes it unlawful, absent any written consent,
 12   to place repeated telemarketing text messages to consumers registered on the
 13   National Do Not Call Registry.
 14           Here, Defendant violated the Act by placing autodialed text messages to
 15   Plaintiff’s cellular telephone after he submitted a valid “stop” request. That is,
 16   Plaintiff replied, “Stop” to text messages that he received from Defendant. CallFire
 17   immediately sent a text message confirming this opt out, stating that Plaintiff would
 18   “no longer receive any messages.” Despite the stop requests and CallFire’s
 19   confirmation, CallFire continued to cause autodialed text messages to be placed to
 20   Plaintiff’s cellular telephone. Further, Plaintiff’s phone number has been registered
 21   on the National Do Not Call List since 2005, and Plaintiff never provided
 22   Defendant with written consent to place the text messages at issue in this case.
 23   Consequently, Plaintiff filed the instant case seeking statutory damages and
 24   injunctive relief on behalf of himself and the proposed Classes of similarly situated
 25   individuals.
 26           Defendant’s Position: Plaintiff alleges that he suffered injury as a result of
 27   unsolicited text messages he received regarding health insurance and home
 28
                                 JOINT CASE MANAGEMENT STATEMENT
                                                  -2-
Case 2:19-cv-02874-SVW-MAA Document 29 Filed 08/13/19 Page 3 of 12 Page ID #:157




  1   warranty plans, and yet he does not bring his claims against the businesses that
  2   initiated those text messages as required by the law and common sense. Instead,
  3   Plaintiff brings this Complaint against CallFire, Inc., which is akin to suing AT&T
  4   for the actions of AT&T’s customers making phone calls. CallFire does not—and
  5   indeed, cannot—send texts. Again, like AT&T and other common carriers,
  6   CallFire carries the voice and text calls initiated by CallFire’s subscribers. And just
  7   like AT&T, CallFire has no liability for its customer’s actions. The only allegations
  8   Plaintiff proffers to support his claim against CallFire are: (1) an unsubstantiated
  9   claim that the messages he received came from a number assigned to CallFire’s
 10   network, and (2) the fact that he received two texts confirming his opt-out that
 11   contained the phrase, “CallFire Alerts.” These tenuous claims do not establish
 12   liability under the Telephone Consumer Protection Act, 47 U.S.C. § 227 (“TCPA”).
 13         The TCPA, in relevant part, restricts persons and entities (i.e., phone
 14   company subscribers, not phone companies) from making telephone solicitations—
 15   including text messages—using certain automated telephone equipment. To
 16   establish a violation of the TCPA, a plaintiff must show: (1) the defendant made or
 17   initiated the communications at issue—mere transmission of the communications is
 18   not actionable under the TCPA; (2) the defendant used an automatic telephone
 19   dialing system (“ATDS” or “auto-dialer”) to make or initiate the communications;
 20   and (3) the plaintiff did not solicit or consent to the received communications.
 21   Similarly, to establish a Do-Not-Call Registry violation, 47 C.F.R. § 64.1200(c), a
 22   plaintiff must prove that the violator initiated the allegedly offending messages.
 23         CallFire has no liability under the TCPA because 1) CallFire does not initiate
 24   messages; 2) CallFire is not—and does not use—an ATDS; and 3) CallFire has
 25   common carrier immunity. Further, Plaintiff’s claims about opt outs are irrelevant
 26   because 1) messages in response to opt out requests are not actionable; and 2) opt
 27
 28
                               JOINT CASE MANAGEMENT STATEMENT
                                                -3-
Case 2:19-cv-02874-SVW-MAA Document 29 Filed 08/13/19 Page 4 of 12 Page ID #:158




  1   outs run to the initiator of the messages, not CallFire. As a matter of law, all of
  2   Plaintiff’s claims fail.
  3      2.         Legal Issues
  4           Plaintiff’s Position: Plaintiff anticipates that the case will involve the
  5   following legal issues:
  6           (1)     Whether Defendant violated the TCPA;
  7           (2)     Whether Defendant used an automatic telephone dialing system
  8                   (“ATDS”) to send the text messages;
  9           (3)     Whether Defendant is liable for the text messages;
 10           (4)     Whether and to what extent Defendant was involved with the sending
 11                   of the text messages so as to be considered as having sent the text
 12                   messages at issue;
 13           (5)     Whether Defendant systematically placed telemarketing text messages
 14                   to cellphone owners after they replied with a stop request;
 15           (6)     Whether Plaintiff is entitled to injunctive relief;
 16           (7)     Whether Plaintiff is entitled to recovery of attorney’s fees and costs;
 17           (8)     Whether members of the Classes are entitled to treble damages based
 18                   on the willfulness of Defendant’s conduct; and
 19           (9)     Defendant’s affirmative defenses.
 20           Defendant’s Position:
 21           CallFire anticipates that the case will involve the following legal issues:
 22           (1)     Whether Plaintiff and members of the putative class consented to
 23                   receive text messages;
 24           (2)     Whether TCPA liability extends only to those who initiate text
 25                   messages;
 26           (3)     The applicability of common carrier immunity;
 27           (4)     The legal standard of an ATDS;
 28
                                   JOINT CASE MANAGEMENT STATEMENT
                                                    -4-
Case 2:19-cv-02874-SVW-MAA Document 29 Filed 08/13/19 Page 5 of 12 Page ID #:159




  1           (5)     Whether the response to an “opt out” message can incur TCPA
  2                   liability;
  3           (6)     CallFire’s affirmative defenses.
  4      3.         Damages
  5           Plaintiff’s Position: Plaintiff seeks an award or actual monetary loss or the
  6   sum of five hundred dollars ($500.00) for each violation of the TCPA whichever is
  7   greater. If Defendant is determined to have acted willfully, Plaintiff seeks treble
  8   damages of one thousand five hundred dollar ($1,500.00) for each violation of the
  9   TCPA.
 10           Defendant’s Position: CallFire does not allege any damages at this time but
 11   reserves the right to do so. CallFire has no knowledge of any damages suffered by
 12   Plaintiff or the putative class and further contends that damages in this case are
 13   unavailable under the TCPA.
 14      4.         Insurance
 15           Plaintiff’s Position: Plaintiff does not possess any insurance coverage
 16   applicable to the claims at issue.
 17           Defendant’s Position: CallFire has no knowledge of any insurance coverage
 18   applicable to any claim against it in this action. Pursuant to CallFire’s Terms of
 19   Service, the entities that initiated the alleged text messages at issue must indemnify
 20   CallFire for all costs and expenses for third party claims arising out of their use of
 21   CallFire’s services.
 22      5.         Motions
 23           Plaintiff’s Position: Plaintiff anticipates the potential need to amend the
 24   pleadings to add parties and to conform the class definition to information obtained
 25   during the discovery process. Additionally, the Parties have already briefed
 26   CallFire’s Motion to Dismiss (Dkts. 17, 24, 25), which is presently set for hearing.
 27
 28
                                   JOINT CASE MANAGEMENT STATEMENT
                                                  -5-
Case 2:19-cv-02874-SVW-MAA Document 29 Filed 08/13/19 Page 6 of 12 Page ID #:160




  1   Ultimately, Plaintiff also anticipates filing a Motion for Class Certification
  2   following an appropriate period of discovery.
  3           Defendant’s Position: CallFire may add parties. CallFire will oppose
  4   Plaintiff’s Motion for Class Certification. CallFire does not anticipate filing other
  5   motions at this time.
  6      6.         Complexity
  7           Plaintiff’s Position: This case is complex based on the fact that it presents an
  8   alleged class action, which will involve significant discovery, including discovery
  9   into CallFire’s system and its involvement in processing “Stop” requests and
 10   transmitting the text messages at issue. The discovery process is likely to involve a
 11   high volume of documents, third parties (including Defendant’s clients who also
 12   may have been involved in the making of the calls), and the likely need to engage in
 13   discovery of electronic data—which may require the assistance of an expert.
 14           Defendant’s Position: The legal issue in this case is simple—CallFire has no
 15   TCPA liability. CallFire anticipates limited discovery into Plaintiff’s and purported
 16   class members’ consent to receive text messages and the fact that CallFire neither
 17   initiates text messages nor qualifies as an ATDS.
 18      7.         Status of Discovery
 19           Plaintiff served his First Set of Discovery Requests—including Requests for
 20   the Production of Documents and Interrogatories—on July 31, 2019. The Parties
 21   intend to exchange initial disclosures on August 13, 2019.
 22      8.         Discovery Plan
 23           Plaintiff’s Position:
 24           (a)     Completion of Discovery;
 25           Plaintiff anticipates that meaningful discovery will be necessary in the case
 26   regarding both class certification and merits-based issues. The following is a non-
 27
 28
                                  JOINT CASE MANAGEMENT STATEMENT
                                                 -6-
Case 2:19-cv-02874-SVW-MAA Document 29 Filed 08/13/19 Page 7 of 12 Page ID #:161




  1   exhaustive list of subjects on which the Plaintiff expects discovery will be
  2   necessary:
  3         (1)    The number of text messages (and the identities of the recipients of
  4   such messages) sent by Defendant to Plaintiff and others who responded with a
  5   “Stop” or similar request;
  6         (2)    Defendant’s dialing equipment that was utilized to place the text
  7   messages to Plaintiff and the proposed Classes constitutes an automatic telephone
  8   dialing system under the TCPA;
  9         (3)    Defendant’s policies and procedures for recording and honoring stop
 10   requests;
 11         (4)    Any of Defendant’s clients involved in the sending of the text
 12   messages at issue in this case, including the receipt and processing of any Stop
 13   requests or similar commands;
 14         (5)    Defendant’s policies and procedures in place to ensure compliance
 15   with the National Do Not Call List or any internal do not call list;
 16         (6)    Defendant’s involvement in the processing of Stop requests and similar
 17   commands;
 18         (7)    The content and purpose of the text messages;
 19         (8)    Whether Defendant’s actions constitute willful violations of the TCPA;
 20         and
 21         (9)    Any prior express written consent.
 22         Given the complexity of the case, Plaintiff requests that the Court enter a
 23   scheduling order allowing for a ten (10) month discovery period. Discovery should
 24   proceed with respect to both class certification and merits issues with a proposed
 25   end date of June 30, 2020. The first eight months will be devoted to fact discovery
 26   and the last two months will be devoted to expert discovery. Following this
 27   discovery period the Parties would brief class certification. After a ruling on class
 28
                                JOINT CASE MANAGEMENT STATEMENT
                                                -7-
Case 2:19-cv-02874-SVW-MAA Document 29 Filed 08/13/19 Page 8 of 12 Page ID #:162




  1   certification the Court would hold a subsequent case management conference to
  2   discuss setting dates for dispositive motions, the pre-trial conference, and the trial.
  3            Defendant’s Position:
  4            CallFire maintains that Plaintiff’s proffered scope of discovery is
  5   impermissibly broad and impracticable. CallFire does not itself send text messages,
  6   but rather it provides telephony services to businesses and others to initiate the
  7   voice and text communications of their choosing to recipients of their choice.
  8   CallFire agrees to make all reasonable efforts to provide responsive information and
  9   data—as required by the Federal Rules of Civil Procedure and applicable law—that
 10   involve the text message received by Plaintiff as well as any third party subscribers
 11   to Defendant’s software platform that utilized Plaintiff’s cellular phone number
 12   when making text messages or phone calls.
 13            CallFire disagrees that the case is complex, but does not object to Plaintiff’s
 14   proposed timeline. CallFire, however, remains fully ready to comply with the
 15   schedule identified in the Court’s August 8, 2019 Order setting trial for December
 16   10, 2019.
 17      9.       Expert Discovery
 18            Plaintiff’s Position: Plaintiff proposes that Initial Expert Reports shall be
 19   served no later than April 30, 2020, and Rebuttal Expert Reports shall be served no
 20   later than May 30, 2020. Further, Plaintiff proposes that all expert discovery shall
 21   be completed on or before June 30, 2020. Plaintiff anticipates the need for an expert
 22   regarding Defendant’s dialing system and its involvement in the processing of opt
 23   out requests (Stop requests or similar commands).
 24            Defendant’s Position: CallFire has no objection to Plaintiff’s proposed
 25   timeline. CallFire, however, remains ready to follow the schedule in the Court’s
 26   August 8, 2019 Order.
 27      10.      Dispositive Motions
 28
                                  JOINT CASE MANAGEMENT STATEMENT
                                                   -8-
Case 2:19-cv-02874-SVW-MAA Document 29 Filed 08/13/19 Page 9 of 12 Page ID #:163




  1            Plaintiff’s Position: Plaintiff anticipates filing a motion for summary
  2   judgment on some or all of the class’s claims. First the Court must determine
  3   whether the case should proceed on an individualized or a class basis.
  4            Defendant’s Position: CallFire intends to file a motion for summary judgment
  5   on all claims.
  6      11.      Alternative Dispute Resolution (“ADR”) Procedure Selection
  7            The parties agree to select ADR Procedure No. 3 – private mediation.
  8      12.      Settlement Efforts
  9            The Parties have discussed the possibility of settlement and anticipate that
 10   they will continue to discuss the potential for resolving the case. At this time, the
 11   Parties do not request Court assistance with settlement talks other than the setting of
 12   a deadline to complete private mediation.
 13      13.      Preliminary Trial Estimate
 14            Plaintiff’s Position: Plaintiff has made a jury demand. Plaintiff expects that
 15   trial in this case will take approximately 5-7 days. Plaintiff expects that he will
 16   testify at trial and will likely call Defendant’s corporate representative to testify.
 17   Additional fact witnesses are likely to become known throughout the discovery
 18   process. Further, Plaintiff anticipates that one or more expert witnesses may be
 19   necessary.
 20            Defendant’s Position: CallFire anticipates that trial will last no more than five
 21   days.
 22      14.      Trial Counsel
 23   Plaintiff’s Trial Counsel: Steven L. Woodrow and Taylor T. Smith.
 24   Defendant’s Trial Counsel: Michael B. Hazzard and Cheryl L. O’Connor.
 25      15.      Independent Expert of Master
 26            The parties agree that this case is not suitable to the appointment of an
 27   Independent Expert or Master.
 28
                                  JOINT CASE MANAGEMENT STATEMENT
                                                  -9-
Case 2:19-cv-02874-SVW-MAA Document 29 Filed 08/13/19 Page 10 of 12 Page ID #:164




  1      16.      Procedures for Handling the Inadvertent Disclosure of Privileged
  2               Information
  3            The parties anticipate entering into a protective order, which will address the
  4   handling of inadvertent disclosure of privileged information, which the Parties will
  5   file concurrent with this Joint Status Report.
  6      17.      Other Issues
  7            Plaintiff’s Position: Plaintiff proposes that all motions to add parties and
  8   amend the pleadings be filed on or before 150 days after the date of the scheduling
  9   conference. The additional time is necessary to enable the parties to engage in
 10   discovery regarding whether additional parties may also be liable for the texts to
 11   Plaintiff. The additional time will allow Plaintiff to receive responses to discovery
 12   and effectuate any subpoenas that may be necessary. The Plaintiff also requests that
 13   any current deadline for moving for class certification be moved in accordance with
 14   the 10 month discovery schedule outlined herein.
 15            Defendant’s Position: CallFire does not object to Plaintiff’s proposed
 16   timeline.
 17
 18                                             Respectfully Submitted,
 19                                             LEE WIGOD, individually and on behalf of
 20                                             all others similarly situated,
 21
      Dated: August 13, 2019                    By: /s/ Steven L. Woodrow
 22
                                                Aaron D Aftergood
 23
                                                   aaron@aftergoodesq.com
 24                                             THE AFTERGOOD LAW FIRM
                                                1880 Century Park East, Suite 200
 25                                             Los Angeles, CA 90067
                                                Telephone: 310-551-5221
 26                                             Facsimile: 310-496-2840
 27
 28
                                  JOINT CASE MANAGEMENT STATEMENT
                                                  -10-
Case 2:19-cv-02874-SVW-MAA Document 29 Filed 08/13/19 Page 11 of 12 Page ID #:165




  1
                                           Steven L. Woodrow (pro hac vice)
                                              swoodrow@woodrowpeluso.com
  2                                        Taylor T. Smith (pro hac vice)
  3
                                              tsmith@woodrowpeluso.com
                                           WOODROW & PELUSO, LLC
  4                                        3900 East Mexico Avenue, Suite 300
  5                                        Denver, Colorado 80210
                                           Telephone: (720) 213-0675
  6                                        Facsimile: (303) 927-0809
  7
                                           Attorneys for Plaintiff and the Classes
  8
  9
                                           CALLFIRE, INC.,
 10
 11   Dated: August 13, 2019               By: /s/ Michael B. Hazzard

 12                                        Cheryl L. O’Connor (SBN. 173897)
 13                                        coconnor@jonesday.com
                                           Ann T. Rossum (SBN. 281236)
 14                                        atrossum@jonesday.com
 15                                        JONES DAY
                                           3161 Michelson Drive, Suite 800
 16                                        Irvine, California 92612-4408
 17                                        Telephone: (949) 851-3939
                                           Facsimile: (949) 553-7539
 18
 19                                        Michael B. Hazzard (pro hac vice)
                                           mhazzard@jonesday.com
 20                                        JONES DAY
 21                                        51 Louisiana Avenue, N.W.
                                           Washington, D.C. 20001.2113
 22                                        Telephone: +1.202.879.3939
 23                                        Facsimile: +1.202.626.1700
 24                                        Counsel to Defendant
 25                                        CALLFIRE, INC.
 26
 27
 28
                               JOINT CASE MANAGEMENT STATEMENT
                                            -11-
Case 2:19-cv-02874-SVW-MAA Document 29 Filed 08/13/19 Page 12 of 12 Page ID #:166




  1                           SIGNATURE CERTIFICATION
  2         Pursuant to Local Rule 5-4.3.4(a)(2)(i), I hereby certify that Defendant’s
  3   counsel concurs with the content of this document and has authorized me to affix
  4   his signature to the document and file the same with the Court.
  5                                         /s/ Steven L. Woodrow
  6
  7
  8
  9
 10
 11
                               CERTIFICATE OF SERVICE
 12
            The undersigned hereby certifies that a true and correct copy of the above
 13
      titled document was served upon counsel of record by filing such papers via the
 14
      Court’s ECF system on August 13, 2019.
 15
                                            /s/ Steven L. Woodrow
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                               JOINT CASE MANAGEMENT STATEMENT
                                              -12-
